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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                         :
                                                  :
                                                  :
               v.                                 :           Cr. No. 22-cr-0067 CJN
                                                  :
JOSHUA JOHN PORTLOCK,                             :
                                                  :
                  Defendant.                      :
____________________________________              :

                        MOTION TO WITHDRAW AS COUNSEL
                      AND FOR APPOINTMENT OF NEW COUNSEL

       Undersigned counsel, Assistant Federal Public Defender Ned Smock, respectfully moves

to withdraw from further representation of Mr. Portlock and asks the Court to appoint new

counsel to represent him. The defense has identified a conflict of interest in this matter that

requires the Office of the Federal Public Defender to withdraw from representing Mr. Portlock.

       Wherefore, the undersigned asks that this Court grant his motion to withdraw from

representation and to appoint new counsel to represent Mr. Portlock.

                                              Respectfully submitted,

                                              A.J. KRAMER
                                              FEDERAL PUBLIC DEFENDER


                                              ________/s/_________________
                                              Ned Smock
                                              Assistant Federal Public Defender
                                              625 Indiana Avenue, N.W., Ste 550
                                              Washington, D.C. 20004
                                              (202) 208-7500
